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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     NATIONAL TPS ALLIANCE, et al.,                    Case No. 25-cv-01766-EMC (SK)
                                   8                    Plaintiffs,
                                                                                           SUPPLEMENTAL ORDER
                                   9             v.                                        REGARDING NON-RESPONSIVENESS
                                  10     KRISTI NOEM, et al.,
                                                                                           Regarding Docket No. 211
                                  11                    Defendants.

                                  12          This matter comes before the Undersigned on a longstanding discovery dispute regarding
Northern District of California
 United States District Court




                                  13   whether Defendants have improperly withheld documents as nonresponsive. (Dkt. Nos. 191, 211.)

                                  14                                           BACKGROUND

                                  15          On May 9, 2025, the District Judge ordered Defendants to produce documents “regarding

                                  16   whether to vacate, partially vacate, or terminate the TPS designations for Venezuela or Haiti” and

                                  17   “concerning the TPS periodic review process” as applied to those decisions, limited to certain

                                  18   custodians and time frames. (Dkt. Nos. 123, 132, 135.)

                                  19          On June 10, 2025, the parties submitted a discovery letter brief regarding Plaintiffs’

                                  20   concerns that Defendants had not complied with the required production order. (Dkt. No. 191.)

                                  21   As evidence of noncompliance, Plaintiffs cited (1) several prior instances in which Defendants

                                  22   mistakenly omitted certain documents from their initial production, (2) the fact that no documents

                                  23   were identified associated with Secretary of Homeland Security Kristi Noem or her senior advisor

                                  24   Corey Lewandowski—even though Lewandowski was the direct recipient of other email

                                  25   correspondence that Defendants had produced, and (3) the “strikingly few responsive documents”

                                  26   overall. (Id.; see also Dkt. No. 211-2.) Defendants maintained that they had fulfilled their

                                  27   discovery obligations. (Dkt. No. 191.) The Court denied without prejudice Plaintiffs’ request to

                                  28   compel Defendants’ to produce a “hit report” logging documents that hit on search terms but were
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                                   1   withheld as nonresponsive. (Dkt. No. 198.)

                                   2          On June 20, 2025, the parties filed a new discovery letter brief regarding, among other

                                   3   things, the non-responsiveness issue. (Dkt. No. 211.) In addition to the concerns discussed in the

                                   4   prior discovery letter brief, Plaintiffs added that Defendants had not produced or logged any

                                   5   communications regarding the Venezuela decision prior to the circulation of a draft Federal

                                   6   Register notice, such that the decision “appear[s] to emerge from thin air.” (Id.) Defendants

                                   7   provided that they were investigating whether they had searched and produced documents

                                   8   custodial to Lewandowski and continued to oppose inquiry into their discovery methodology.

                                   9   (Id.) The Undersigned ordered Defendants to produce a sample of documents withheld as

                                  10   nonresponsive for in camera review. (Dkt. No. 210.) As directed, Defendants produced the

                                  11   sample documents on July 3, 2025.

                                  12                                            DISPOSITION
Northern District of California
 United States District Court




                                  13          The Undersigned reviewed Defendants’ in camera production of 40 documents. The

                                  14   following 16 documents are relevant to the agency’s decisions “to vacate, partially vacate, or

                                  15   terminate the TPS designations for Venezuela or Haiti” or the related TPS periodic review

                                  16   processes and were therefore misidentified as nonresponsive: NTPSA_USCIS_00000090,

                                  17   00000179, 00000472, 00001597; NTPSA_DHSHQ_00000189, 00000406, 00000428, 00000431,

                                  18   000000531, 000000544, 00000743, 00001217, 000001834, 000001977, 000002024, 000002598.

                                  19          If Defendants believe any of these responsive documents are privileged, they shall produce

                                  20   a corresponding privilege log by July 11, 2025. In doing so, Defendants are advised to be mindful

                                  21   of the Undersigned’s prior guidance regarding the applications of various privileges and the level

                                  22   of specificity required for privilege logs. Defendants must produce all non-privileged documents

                                  23   by July 11, 2025.

                                  24          In addition, the Undersigned is puzzled that NTPSA_USCIS_00000472 and 00001597

                                  25   were withheld as nonresponsive. NTPSA_PRIVID_000164 contains a similar portion of the same

                                  26   email chain, but Defendants logged NTPSA_PRIVID_000164 as responsive but attorney-client

                                  27   privileged. The Undersigned rejected the invocation of the attorney-client privilege as to

                                  28   NTPSA_PRIVID_000164. (Dkt. No. 222.) Defendants shall submit an explanation of why the

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                                   1   same email chain was categorized as both responsive and nonresponsive by July 11, 2025.

                                   2          IT IS SO ORDERED.

                                   3   Dated: July 8, 2025

                                   4                                                 ______________________________________
                                                                                     SALLIE KIM
                                   5                                                 United States Magistrate Judge
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Northern District of California
 United States District Court




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